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11
                             UNITED STATES DISTRICT COURT
12                     FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                  OAKLAND DIVISION
13
14    BYRON MCKNIGHT, JULIAN MENA,               Case No. 4:14-cv-5615-JST
      TODD SCHREIBER, NATE COOLIDGE,
15    and ERNESTO MEJIA, individually and on     The Honorable Jon S. Tigar, Presiding
16    behalf of all others similarly situated,

17                    Plaintiffs,

18    UBER TECHNOLOGIES, INC., a Delaware        OBJECTOR GORDON MORGAN’S
      Corporation, RAISIER, LLC, a Delaware      AMENDED NOTICE OF APPEAL
19    Limited Liability Company,
20
                      Defendants,
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              Case 4:14-cv-05615-JST Document 251 Filed 10/27/21 Page 2 of 4




            Notice is hereby given that class member/objector Gordon Morgan hereby amends his
 1
 2   Notice of Appeal (Dkt. 240) filed on September 30, 2021, which is currently docketed at the United

 3   States Court of Appeals for the Ninth Circuit as Case No. 21-16625.

 4          In addition to the already pending appeal from the Court’s Order Granting in Part and
 5   Denying in Part Plaintiffs’ Motions for Attorney’s Fees and Costs; Granting Objector Gordon
 6   Morgan’s Motion for Consideration of Expert Testimony entered on September 2, 2021 (ECF No.
 7
     236), and all opinions and orders that merge therein, including but not limited to the Court’s June
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     26, 2021 Order (ECF No. 214) questioning whether it should “reconsider[] its prior orders of
 9
     preliminary or final approval” and its Order Granting Final Approval and Granting in Part and
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11   Denying in Part Plaintiffs’ Motion for Attorney’s Fees, Costs, and Incentive Awards entered on

12   August 13, 2019 (ECF No. 189),1 notice is hereby given that class member Gordon Morgan appeals

13   to the United States Court of Appeals for the Ninth Circuit from the Court’s Final Judgment
14   entered on October 15, 2021 (ECF No. 249), and all opinions and orders that merge therein.
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       As noted Morgan’s initial notice of appeal, the August 13, 2019 Order was not final because, inter
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     alia, the Court expressly left undecided the issue of attorney’s fees (which necessarily affects
21   settlement distribution under the terms of this settlement), and further disclaimed that it was a final
     judgment by advising the parties to “submit a jointly proposed form of judgment if they wish to
22   have judgment entered at [that] time, rather than after the Court has determined an appropriate fee
     award.” ECF No. 189 at 13. Additionally, the Court’s September 2, 2021 Order addressed
23   “objections that were not resolved by its prior order[,]” including objections relating to settlement
     approval. ECF No. 236 at 3 n.2, 8-9. Further, the Court stated in its June 20, 2020 Order that it
24   “must now inquire into whether there is any remedy – other than reconsidering its prior orders of
25   preliminary or final approval – which will enable the Court to award attorney’s fees.” ECF No. 214
     at 2. Pursuant to that order, Morgan urged reconsideration of the Court’s settlement approval order.
26   ECF No. 216 at 3-5. The September 2, 2021 Order also overrules a prior finding in the August 13,
     2019 Order that the coupon provision in the Class Action Fairness Act (28 U.S.C. § 1712) applies to
27   the settlement.
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     DATED: October 27, 2021                  Respectfully submitted,
 1
                                              /s/ Robert W. Clore
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                                              Certificate of Service
 1
 2           The undersigned certifies that today he filed the foregoing on ECF which will send

 3   electronic notification to all attorneys registered for ECF-filing.

 4   DATED: October 27, 2021

 5                                                            /s/ Robert W. Clore
                                                              Robert W. Clore
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